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8                             UNITED STATES DISTRICT COURT
9                         SOUTHERN DISTRICT OF CALIFORNIA
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11      JESUS GASPAR-SAMANO,                     Crim. Case No.: 10cr3510-1
                        Movant-Defendant,        Civil Case No: 16cv1539
12
13      v.                                       ORDER GRANTING
                                                 PLAINTIFF’S MOTION TO STAY
14      UNITED STATES OF AMERICA,
15                    Respondent-Plaintiff.
16
17           On June 17, 2016, Defendant Jesus Gaspar-Samano filed a § 2255 motion
18    to vacate and correct his sentence. (ECF No. 243.) On July 17, 2016, the
19    Government filed a motion to stay the proceedings pending the Ninth Circuit’s
20    decision on Defendant’s application for leave to file a second or successive § 2255
21    motion. (ECF No. 248.)
22           Prior to the instant motion, Defendant filed a pro se § 2255 motion on
23    September 12, 2011. (ECF No. 173.) He subsequently moved to voluntarily
24    dismiss his petition on September 28, 2011. (ECF No. 181.) Pursuant to 28 U.S.C.
25    § 2255(h), a second or successive motion filed by a defendant “must be certified .
26    . . by a panel of the appropriate court of appeals to contain (1) newly discovered
27    evidence . . . ; or (2) a new rule of constitutional law, made retroactive to cases on
28    collateral review by the Supreme Court, that was previously unavailable.”

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1           Defendant argues that because he moved to voluntary dismiss his first §
2     2255 motion before it was adjudicated on the merits, his previous § 2255 motion
3     does not “count,” and therefore the instant motion is not a second or successive
4     motion requiring certification. Although the Ninth Circuit has not addressed this
5     issue, Defendant points to out-of-circuit case law for the proposition that a § 2255
6     motion must be adjudicated on the merits to “count.” See, e.g., Thai v. United
7     States, 391 F.3d 491, 496 (2d Cir. 2004) (holding that when a petitioner moves to
8     withdraw a petition because of procedural defect or because the petitioner did not
9     exhaust administrative remedies, the habeas petition should not “count” as a first
10    petition); Vitrano v. United States, 643 F.3d 229, 233 (7th Cir. 1999) (noting that a
11    court should examine the substance of a habeas petition to determine whether or
12    not it “counts” as a first petition).
13          However, because there is no Ninth Circuit decision addressing this issue,
14    and because Defendant has already sought leave to file a second petition with the
15    Ninth Circuit, the Court GRANTS Plaintiff’s motion to stay the proceedings pending
16    the Ninth Circuit’s decision. This stay is without prejudice and the Defendant may
17    seek to revisit it if the Court of Appeals has not ruled within 45 days.
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19    IT IS SO ORDERED.
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21     Dated: August 31, 2016
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